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1/25/2016

Habibou Camara
Haddy Camara
231 Talon Place
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To Whom it May Concern

I would introduce Amadou Camara by briefly introducing his Great Grand Dad Saikou
Camara. The Camara clan hails from a noble and religious tribe in the Republic of Gambia
in West Africa that put great value to education. My Grand father Saikou decided at an
early age that he would get himself the best education he could. In this quest he traveled
abroad to a neighboring country to get himself the highest level of education attainable at
that time. He farmed and studied with his new host for the next seven years. After seven
years of study Grand Dad graduated. His graduation coincided with the years harvest so
he volunteered to stay and help with the harvest. As fate would have it, he fell sick and
died a few weeks into the harvest. His teacher and mentor was inconsolable, In those days,
in those lands, there were no newspapers, no radio, or TV or internet. Ones students were
your only ambassadors in foreign lands, this coupled with the fact that Saikou, my Grand
Dad left a young family behind, the eldest at 4 yrs being my Dad. My Grand Mom’s sense
of personal loss was boundless. In mourning she would cry and ask how she would bring
up three young children, herself being uneducated and without means. My Grand Dad’s
teacher then prayed that Grand Pa’s quest of education and success grow stronger with
every generation. . I strongly believe this has come to pass. My Dad for his part went on
to educate himself not formally but by going to night school. He was so respected by his
peers and the community that he was nominated unopposed as District representative to
the state assembly. Dad being so humble in turn recommended his childhood friend who
had a more formal education to the assembly.

I could remember from a young age my Dad drumming the value of service and education
into us. I was fortunate to avail myself of a good education and have been fortunate to
have represented my former government in a number of positions. But unfortunately after
a military coup I had to leave my country (GAMBIA) due to disagreement with the
military government’s policies.

I arrived at JFK airport with a lot of hope and twenty dollars in my pocket. I accepted a
position as a security guard in the Wall Street area of Manhattan, New York. My wage
then was $4.25/hr. After 2 yrs of 16 hr days I was able to pay for my wife and 2 kids to
join me in America. During the time I worked around Wall Street one could not fail to see
the prestige and succes of wall street executives going about their daily lives. I decided
then it was too late for me but vowed someday my child would be a Wall Street
Executive. I could recall one day while Amadou was still in preschool taking him to the
spot were the bronze bull stands just off Wall Street and took a picture of him and
solemnly promising to bringing him back to the same spot upon getting a job on Wall
street. Fast forward almost twenty years later after a lot of hard work and pain, Amadou
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got a job with JP Morgan and Chase which is a stone throw from that spot. I now have a
contrasting picture taken of Amadou at the same spot almost twenty years later. Looking
up at Amadou’s office in the Chase skyscraper I recall Dad telling me before he passed on
that he dreamt of me in my office in a skyscraper and me having to remind him as a
security guard I was confined to the lobby. It finally dawned on me it was Amadou (his
little Maverick as he fondly calls him) he might have seen. My dad has always had a
special relationship with his little maverick. I recall Amadou being the winner of Dane
county Martin Luther King scholarship to a deserving high school student. The night prior
to the award ceremony my dad’s condition turned for the worst so we decided as a family
to skip the ceremony. I call my Mom in Africa to tell her about that decision. My Dad
upon hearing insisted his little maverick be taken to receive this great honor. So the
following morning the entire family went to Madison for the award ceremony. I had my
cell phone on just in case. The moment Amadou picked up his award letter and was
walking off stage towards us, my phone began to ring incessantly. I answered with my
mom telling me dad had just passed. I knew nothing would have stopped Dad from seeing
his little maverick receive such an honor.

Amadou’s story can only happen in America. This is analogous to taking your four year
old child to Lambeau field and promising to bring him back as the quaterback twenty years
later. How improbable is that especially for and Africa America child some of whose
friends have dropped out of high school or college or are in prison. Amadou has done a
good job navigating those perils.

I believe America is a land of hope, freedom, opportunity and above all second chances.
Amadou has worked hard and diligently all his life. This would all still remain a dream
without his hard work. I can only pray and hope that he will be given a second chance.
Grand Dad Saikou was his father’s first born son, my Dad was Saikou’s first son, I am my
Dad’s first son and Amadou is my first and only son. I pray this beautiful journey does not
stop with Amadou. He is American through and through, from pre K to graduating at
UW Madison. He has no connections to Africa.

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